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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO
                                LAS CRUCES DIVISION

ESTHER VEGA,                                  §
    Plaintiff,                                §
                                              §
v.                                            §            Cause No. _____________
                                              §
UNITED STATES OF AMERICA,                     §
and CITY OF LAS CRUCES,                       §
      Defendants.                             §
                                              §                    Non-Jury
                                              §

                           PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Comes Now, Plaintiff, Esther Vega (hereinafter, “Plaintiff”), complaining of the United

States of America, and the City of Las Cruces (hereinafter collectively referred to as “Defendants”),

and respectfully shows as follows.

                                     Jurisdiction and Venue.

       1.      Plaintiff is an individual and a resident of Las Cruces, Dona Ana County, in the State

of New Mexico.

       2.      Defendant, the United States of America, is a governmental entity that can be served

with process by delivering a copy of this complaint and a summons providing for sixty days in

which to answer this complaint, as required by Rule 12(a)(2) of the Federal Rules of Civil Procedure,

via registered or certified mail to the following:

                              The Attorney General of the United States
                                  950 Pennsylvania Avenue, NW
                                   Washington, DC 20530-0001

                                                     and
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                                           Ms. Diane Tapia
                                         Civil Process Clerk
                 Office of the United States Attorney for the District of New Mexico
                                         201 3rd Street, N.W.
                                              Suite 900
                                  Albuquerque, New Mexico 87102


       3.      Defendant, the City of Las Cruces, is an incorporated municipality located in

Doña Ana County, New Mexico. The City of Las Cruces can be served through the Las Cruces

City Clerk, 700 N. Main, Las Cruces, New Mexico, 88001, or wherever he/she may be found.

       4.      As it relates to Defendant, the United States of America, this action arises under

the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq. As such, this Court is vested with

jurisdiction pursuant to 28 U.S.C. § 1346(b). And pursuant to 28 U.S.C. § 1367, the Court has

supplemental jurisdiction over all other claims asserted herein.

       5.      On March 13, 2014, Plaintiff filed an administrative tort claim with the Federal

Bureau of Investigation as required by 28 U.S.C. § 2675(a). More than six months have passed

since Plaintiff filed her claim. Accordingly, Plaintiff is authorized to file suit in accordance with

28 U.S.C. § 2675.

       6.      Proper and timely notice of this claim was also given in writing to the City of Las

Cruces by Plaintiffs on March 5, 2014.

       7.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1402(b) as

Plaintiff resides within the District of New Mexico, Las Cruces Division.

                                       Factual Allegations.

       8.      On or about February 25, 2014, Plaintiff was driving her vehicle southbound on

North Mesquite Street, in Las Cruces. At the same time, Paul Lujan was driving northbound on

North Mesquite Street, when, suddenly and without warning, he made a left turn across




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Plaintiff’s path of travel, causing a collision. Paul Lujan told the investigating police officer that

he had simply not seen or noticed Plaintiff’s vehicle, which clearly had the right of way.

       9.       According to information previously provided by a deputy city attorney for the

City of Las Cruces, Paul Lujan, a police officer for the City, was working for a Federal Bureau

of Investigation (“FBI”) task force at the time of the subject accident, and was driving an FBI

leased vehicle at the time.

       10.      As an operator of a motor vehicle using the public road system, Paul Lujan had a

duty to use reasonable and prudent care. Paul Lujan breached said duty by driving negligently

and carelessly, thereby proximately causing Plaintiff’s injuries and damages. Paul Lujan was

within the course and scope of his employment and/or agency with the FBI and/or the City of

Las Cruces at the time of the accident, and/or was a borrowed servant of the City of Las Cruces

and/or the FBI. at the time of the accident. Accordingly, the United States of America is

responsible for Paul Lujan’s conduct pursuant to the Federal Tort Claims Act, 28 U.S.C. § 2671

et seq., and/or the doctrine of respondeat superior.      Similarly, and/or alternatively, the City of

Las Cruces is responsible for Paul Lujan’s conduct pursuant to the New Mexico Tort Claims act,

common law, and/or the doctrine of respondeat superior.



                                 Negligence and Negligence Per Se.

       11.      Among other things, Paul Lujan was negligent in the following respects:

             (a) In failing to control speed as a person exercising ordinary care would have done
             under the same or similar circumstances;

             (b) In failing to keep a proper look out as a person exercising ordinary care would
             have done under the same or similar circumstances;

             (c) In failing to reduce his speed and/or apply his brakes in order to avoid a collision;




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             (d) Driver inattention;

             (e) In failing to take evasive action;

             (f) By making a left turn when it was not safe to do so; and

             (g) By failing to yield the right of way to Plaintiff.

       12.       Paul Lujan’s driving conduct was also violative of various New Mexico traffic

laws, including but not limited to the following, thereby creating negligence per se liability:

       (a) New Mexico Motor Vehicle Code section 66-7-329, “Vehicles turning left at
       intersection,” which mandates that the “driver of a vehicle within an intersection
       intending to turn to the left shall yield the right-of-way to any vehicle approaching
       from the opposite direction which is within the intersection or so close thereto as
       to constitute an immediate hazard. . . . NMSA 1978, Section 66-7-329 (1978).

       (b) New Mexico Motor Vehicle Code section 66-7-325, “Turning movements and
       required signals,” which mandates that: “No person shall turn a vehicle at an
       intersection unless the vehicle is in proper position upon the roadway as required
       in Section 66-7-322 NMSA 1978, or turn a vehicle to enter a private road or
       driveway or otherwise turn a vehicle from a direct course or move right or left
       upon a roadway unless and until such movement can be made with reasonable
       safety.” NMSA 1978, § 66-7-325(A) (1978)

Plaintiff is a member of the class of persons for whom such statutes and other traffic ordinances

and laws were designed and intended to protect.

       13.       The foregoing described acts, omissions, and statutory violations—whether taken

separately or together—were the proximate cause of the accident at issue and thus, the injuries

and damages sustained by Plaintiff as a result thereof.

                                       Federal Tort Claims Act.

       14.       Under the laws of the State of New Mexico, a private person would be liable to

Plaintiff for the foregoing described acts, omissions, and statutory violations. Accordingly, The

United States of America is liable for Paul Lujan’s conduct pursuant to the Federal Tort Claims




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Act, 28 U.S.C. § 2671 et seq., and/or the doctrine of respondeat superior. See 28 U.S.C. §§ 1346,

2674.

                                         Plaintiff’s Damages.

        15.      As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff incurred the following damages:

              (a) Reasonable medical care and expenses in the past. These expenses were incurred
              by Plaintiff for the necessary care and treatment of the injuries resulting from the
              accident complained of herein and such charges are reasonable and were usual and
              customary charges for such services in Las Cruces, New Mexico.

              (b) Reasonable and necessary medical care and expenses which will in all reasonable
              probability be incurred in the future;

              (c) Physical pain and suffering in the past;

              (d) Physical pain and suffering in the future;

              (e) Physical disfigurement in the past and future;

              (f) Mental anguish in the past and future;

              (g) Physical impairment in the past and future;

              (h) Lost wages in the past and loss of earning capacity in the future; and

              (i) Property damage.

        16.      Additionally, as a direct, natural and proximate consequence of Defendants’

negligence, Plaintiff has been unable to perform her duties in the household and participate in

activities as she did prior to the accident.

        17.      By reason of all of the above, Plaintiff suffered losses and damages in the amount

of $1,010,000, for which she seeks judgment against Defendant.




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                                   Plaintiff’s Prayer for Relief.

       Wherefore, premises considered, Plaintiff, Esther Vega, respectfully prays that

Defendants, the United States of America and the City of Las Cruces, be cited to appear and

answer herein, and that upon a final hearing of the cause, judgment be entered for Plaintiff

against Defendants awarding damages in an amount not less than $1,010,000, and such other and

further relief to which the Plaintiff may be entitled at law or in equity.


                                                       Respectfully Submitted,

                                                       RUHMANN LAW FIRM
                                                       5915 Silver Springs, Bldg. #1
                                                       El Paso, Texas 79912
                                                       (915) 845-4529
                                                       (915) 845-4534 Fax

                                                   By: _/S/John L. Anderson________
                                                      CHARLES J. RUHMANN, IV
                                                      JOHN LOMAX ANDERSON
                                                      Attorneys for Plaintiff,
                                                      Esther Vega




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